-                   Case 3:25-cv-00638-JR                 Document 1-2              Filed 04/18/25             Page 1 of 8

AO 440 (Rev. 06/1 2) Summons in a Civi l Acti on


                                        UNITED STATES DISTRICT COURT
                                                                     for the




          VYACHESLAV STEVEN KIOROGLO                                    )
                                                                       )
                                                                       )
                                                                       )
                             Plaintijf(s)                              )
                                                                       )
                                  V.
                                                                       )       Civil Action No.       3 ~ Z 6 . . W ... ~ 3J7- ~
 DEPARTMENT OF JUSTICE FOR THE STATE OF                                )
                OREGON
                                                                       )
                                                                       )
                                                                       )
                            De/'endant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant
       •       's name and address) D epa rt men t of Jus t·,ce f or th e Stat e of 0 regon , ,
                                         1163 State Street, Salem , OR 97301-2562
                                         503-94 7-4540
                                         AttorneyGeneral@doj .oregon. gov




          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                         VYACHESLAV STEVEN KIOROGLO
                                         5931 SE EQUESTRIAN DR
                                         PORTLAND OR 97236
                                         971-818-1937
                                         VYACHESLAVKIOROGLO@GMAIL.COM


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must fi le your answer or motion with th,e court.



                                                                                   CLERK OF COURT


Date: - - - - - - - - - -
                                                                                                  Signature Q( Clerk or Deputy Clerk
                  Case 3:25-cv-00638-JR                   Document 1-2           Filed 04/18/25             Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
         ------------------
           on (date)                               , and mailed a copy to the individual's last known address; or
                        --------
           0 I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                            ; or

          0 I returned the summons unexecuted because                                                                               ; or

          0 Other (specijj,):



           My fees are$                            for travel and $                   for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server 's signature


                                                                                         Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
                     Case 3:25-cv-00638-JR                  Document 1-2         Filed 04/18/25         Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civ il Acti on


                                       UNITED STATES DISTRICT COURT
                                                                     for the



          VYACHESLAV STEVEN KIOROGLO                                    )
                                                                        )
                                                                        )
                                                                       )
                             Plaintijj?s)                              )
                                                                       )
                                 V.
                                                                        )
STATE OF OREGON, OFFICE OF THE GOVERNOR                                 )
                                                                        )
                                                                       )
                                                                       )
                            Defendant(s)                               )

                                                      SUMMONS IN A CIVIL ACTION
          .      .                          State of Oregon, Office of the Governor
To: (Defendants name and address) 900 Court Street, suite 254 Salem , OR 97301-4047
                                               Department of Administrative Services, Executive Building
                                               155 Cottage Street NE
                                               Salem, OR 97301-3972
                                               503-881-2427 risk.management@das.oregon.gov



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                        VYACHESLAV STEVEN KIOROGLO
                                        5931 SE EQUESTRIAN DR
                                        PORTLAND OR 97236
                                        971-818-1937
                                        VYACHESLAVKIOROGLO@GMAIL.COM


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date: - - - - - - - - - -
                                                                                            Signature q(Clerk or Deputy Clerk
                         Case 3:25-cv-00638-JR                   Document 1-2          Filed 04/18/25             Page 4 of 8
,,
     AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

      Civil Action No.

                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                This summons for (name of individual and title, if any)
     was received by me on (date)

                0 I personally served the summons on the individual at (place)
                                                                                      on (date)                            ; or

                0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                       , a person of suitable age and discretion who resides there,
              ------------------
                on (date)                               , and mailed a copy to the individual 's last known address; or

                0 I served the summons on (name of individual)                                                                      , who is
                designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                            ; or

               0 I returned the summons unexecuted because                                                                               ; or

               0 Other (specijj,):




                My fees are$                            for travel and $                   for services, for a total of$          0.00


               I declare under penalty of perjury that this inforn1ation is true.



     Date:
                                                                                                  Server 's signature


                                                                                              Printed name and title




                                                                                                  Server's address

     Additional information regarding attempted service, etc:
                     Case 3:25-cv-00638-JR                        Document 1-2       Filed 04/18/25        Page 5 of 8

1   AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                         for the



              VYACHESLAV STEVEN KIOROGLO                                   )
                                                                           )
                                                                           )
                                                                           )
                                Plaintijj(s)                               )
                                                                           )
                                    V.
                                                                           )       Civil Action No. 3 : Z., 6, CJ/' /p 3 }7..-       Sf\
                        CITY OF PORTLAND                                   )
                                                                           )
                                                                           )
                                                                           )
                              Defendant(s)                                 )

                                                          SUMMONS IN A CIVIL ACTION
       .     .      .                          City of Portland
    To . (Defendants
           •         name and address) OMF Bureau of Revenue an d F"inancIa
                                                                          · IS ervices
                                                                                  ·
                                           Risk Management Division
                                           1120 SW 5th Ave, Room 1040
                                           Portland OR 97204-1912
                                           d: (503) 823-5256 f: (503) 823-6120

                                           jessica.bird@portlandoregon.gov
             A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
    whose name and address are:
                                           VYACHESLAV STEVEN KIOROGLO
                                           5931 SE EQUESTRIAN DR
                                           PORTLAND OR 97236
                                           971-818-1937
                                           VYACHESLAVKIOROGLO@GMAIL.COM


           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT


    Date:
            ----------
                                                                                                Signature of Clerk or Deputy Clerk
                      Case 3:25-cv-00638-JR                   Document 1-2          Filed 04/18/25              Page 6 of 8
      •
,   AO 440 (Rev. 06/12) Swnmons in a Civil Action (Page 2)

     Civil Action No.

                                                           PROOF OF SERVICE
                           (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

               This summons for (name of individual and title, if any)
    was received by me on (date)

               0 I personally served the summons on the individual at (place)
                                                                                    on (date)                            ; or

               0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                     , a person of suitable age and discretion who resides there,
             ------------------
               on (date)                               , and mailed a copy to the individual's last known address; or

               0 I served the summons on (name of individual)                                                                     , who is
                designated by law to accept service of process on behalf of (name oforganization)
                                                                                     on (date)                           ; or

               0 I returned the summons unexecuted because                                                                             ; or

               0 Other (specify):




               My fees are$                            for travel and $                  for services, for a total of$          0.00


               I declare under penalty of perjury that this infom1ation is true.



    Date:
                                                                                                 Server 's signature


                                                                                             Printed name and title




                                                                                                 Server's address

    Additional information regarding attempted service, etc:
                  Case 3:25-cv-00638-JR               Document 1-2             Filed 04/18/25       Page 7 of 8

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the



          VYACHESLAV STEVEN KIOROGLO                                )
                                                                    )
                                                                    )
                                                                    )
                            Plaintij}?s)
                                                                    )
                                                                    )
                                 V.
                                                                    )      Civil Action No. 3 ,' Z,$ --W-- 63J>, J'I<_
        REP. HOA NGUYEN FOR DISTRICT 48                             )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CML ACTION

To: (Defendant
       •       ·s name and address) R
                                      epresen tat·Ive Hoa Nguyen for o·Is t nc
                                                                             · t 48 ,
                                       900 Court St. NE, H-473,
                                       Salem , Oregon 97301
                                       503-986-1448
                                       Rep.HoaNguyen@oregonlegislature.gov



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       VYACHESLAV STEVEN KIOROGLO
                                       5931 SE EQUESTRIAN DR
                                       PORTLAND OR 97236
                                       971-818-1937
                                       VY ACHESLAVKIOROGLO@GMAI L. COM


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: - - - - - - - - - -
                                                                                        Signature o,(Clerk or Deputy Clerk
                  Case 3:25-cv-00638-JR                   Document 1-2           Filed 04/18/25            Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (na me of individual and title, if any)
was received by me on (da te)

           0 I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or
                        --------
           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):



           My fees are$                            for travel and $                   for services, for a total of$          0.00


           I declare under penalty of perjury that this infom1ation is true.



Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
